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 5
                                      UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON AT SEATTLE

 7   NORTHWEST ADMINISTRATORS, INC.,
 8                                        Plaintiff,                   No.

 9
                 V.                                                    COMPLAINT TO COLLECT
10   AIR LIQU!DE INDUSTRIAL U.S. LP. a                                 TRUST FUNDS
     Delaware limited partnership,
11
                                          Defendant.
12

13
                                                                 I.

14
                 Plaintiff. Northwest Administrators, Inc., Is an organization incorporated under
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     the laws of the State of Washington, with its principal place of business in King
16
     County, and is the authorized administrative agency for and the assignee of the
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     Western Conference of Teamsters Pension Trust Fund (hereinafter "Trust").
18

19                                                               II.


20               The Western Conference of Teamsters Pension Trust Fund is an

21   unincorporated association operating as a Trust Fund pursuant to Section 302 of the

22   Labor Management Relations Act of 1947. as amended, to provide retirement

23
     benefits to eligible participants.
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                                                                         Reid, McCarthy, Ballew & Leahy, LL.P.
     Complaint to Collect Funds - 1                                                          ATTORNEYS AT LAW
     0:\01-01999WlHAir Liquids !nd. 201902 4-18VComplaint.docx               100 WEST HARRfSON STREET • NORTH TOWER, SUITE 300
                                                                                        SEATTLE, WASHINGTON 98119
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 2               This Court has Jurisdiction over the subject matter of this action under Section

 3   502(e)(l) and (f) of the Employee Retirement Income Security Act of 1974 ("ERISA"),

 4
     29 U.S.C. §1132(e)(l) and (0 and under §301(a) of the Taft-Hartley Act, 29 U.S.C.
 5
     §185(a).
 6
                                                                 IV.
 7
                 Venue is proper in this District under Section 502(e)(2) of ERiSA. 29 U.S.C.
 8
     §1132(e)(2), because the plaintiff trust fund is administered in this District.
 9

                                                                 V.
10

11               Defendant is a Delaware limited partnership.

12                                                               VI.

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                 Defendant is bound to a collective bargaining agreement with Local 848 of the
14
     International Brotherhood of Teamsters (hereinafter "Local"), under which the
15
     Defendant is required to promptly and fully report for and pay monthly contributions
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     to the Trust at specific rates for each hour of compensation (including vacations,
17

     holidays, overtime and sick leave) the Defendant pays to its employees who are
18

19   members of the bargaining unit represented by the Local. Such bargaining unit

20   members are any of the Defendant's part-time or full-time employees who perform

21   any work task covered by the Defendant's collective bargaining agreements with the

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     Local, whether or not those employees ever actually Join the Local.
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                                                                       Reid, McCarthy, Ballew & Leahy, L.L.P.
     Complaint to Collect Funds - 2                                                   ATTORNEYS AT LAW
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                Case 2:18-cv-01020-RAJ Document 1 Filed 07/11/18 Page 3 of 4




 -          II                       v"'
z II Defendant accepted the Plaintiffs Trust Agreement and Declaration and

3 || agreed to pay liquidated damages equal to twenty percent (20%) of ail delinquent

4 || and delinquently paid contributions due to the Trust. together with interest accruing

         upon such delinquent contributions at varying annual rates from the first day of
6
         delinquency until fully paid, as well as attorney's fees and costs the Trust incurs in
7
         connection with the Defendant's unpaid obligations.
8
                                                          VIII.
9

^ || For the empioyment period April 2018, Defendant has failed to promptly report

ii || for and pay to the Plaintiff Trust all amounts due as described above, and only

12 || Defendant's records contain the detailed information necessary to an accurate

     11 determination of the extent of the Defendant's unpaid obligations to the Trust.

                 WHEREFORE, the Plaintiff prays to the Court as follows:
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                 1. That Defendant be compelled to render a monthly accounting to the
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         Piaintiffs attorneys and set forth in it the names and respective social security
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         numbers of each of the Defendant's employees who are members of the bargaining

^ \\ unit represented by the Local, together with the total monthly hours for which the

20 11 Defendant compensated each of them, for the employment period April 2018, and for

21 11 whatever amounts may thereafter accrue;

22 11 2. That it be granted judgment against Defendant for:

                             a. All delinquent contributions due to the Trust;
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                             b. All liquidated damages and pre-Judgment interest due to the
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                                 Trust;
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                                             Reid, McCarthy, Ballew & Leahy, L.L.P.
         Complaint to Collect Funds - 3 ATTORNEYS AT LAW
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                                     c. All attorney's fees and costs incurred by the Trust in connection
 1


2                                          with the Defendant's unpaid obligation; and

3                                    d. Such other and further relief as the Court may deem just and

4                                          equitable.
 5
                                                                   Respectfully submitted,
6     DATED this 11th day of
                                                                   REID, MCCARTHY. BALLEW & LEAHY.
      July, 2018
 7                                                                 LLP.

 8

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                                                                   Russell J. Reid^/j8€A#2560
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                                                                   Attorney for Plaintiff
II


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                                                                                   Reid, McCarthy, Ballew & Leahy, L.L.P.
     Complaint to Collect Funds - 4                                                                 ATTORNEYS AT LAW
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